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                                 #:5966




                      Exhibit B
         Case 8:22-cv-00099-DOC-DFM Document 370-2 Filed 10/03/22 Page 2 of 2 Page ID
                                          #:5967
From: Michael, Molly A. EOP/WHO <Molly.A.Michael@who.eop.gov>
Sent: Tuesday, December 08, 2020 9:01 AM MST
To: Eastman, John <jeastman@chapman.edu>
Subject: From POTUS
Attachment(s): "Rally.pdf"
                                                           External Message

The President wanted you to see this photo – attached with caption

-Molly

 NOTE: This email originated from outside Chapman’s network. Do not click links or open attachments unless you recognize the sender and
                                                        know content is safe.




                                                                                                                          Chapman025904
